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Information to identify the case:
Debtor 1              Reuben Henry Casias                                               Social Security number or ITIN        xxx−xx−2877
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Jonel Liz Casias                                                  Social Security number or ITIN        xxx−xx−1885
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Colorado
                                                                                        Date case filed for chapter 7 9/21/18
Case number:          18−18279−TBM


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Reuben Henry Casias                                 Jonel Liz Casias

2.      All other names used in the
        last 8 years

3.     Address                               6775 Brook Forest Dr                                   6775 Brook Forest Dr
                                             Colorado Springs, CO 80911−9642                        Colorado Springs, CO 80911−9642

4.     Debtor's attorney                     Robert J. Doig                                         Contact phone 719−227−8787
                                             225 E. Cheyenne Mountain Blvd.                         Email ____________________
       Name and address                      Ste. 140
                                             Colorado Springs, CO 80906

5.     Bankruptcy trustee                    Robertson B. Cohen                                     Contact phone 303−933−4529
                                             1720 S. Bellaire St.                                   Email ____________________
       Name and address                      Ste. 205
                                             Denver, CO 80222
                                                                                                               For more information, see page 2 >
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Debtor Reuben Henry Casias and Jonel Liz Casias                                                                         Case number 18−18279−TBM


The person designated as Bankruptcy Trustee on the front side of this form has been selected as Interim Trustee of the bankruptcy estate and the trustee's
previously−filed blanket bond is approved. Unless another trustee is elected at the meeting of creditors, the trustee shall serve without further appointment
or qualification. The trustee is deemed to have accepted the appointment, unless the trustee notifies the Court and the U.S. Trustee in writing of any
rejection within seven days after receipt of notice of selection.
6. Bankruptcy clerk's office                     US Bankruptcy Court                                             Hours open Monday − Friday 8:00
                                                 US Custom House                                                 AM − 4:30 PM
     Documents in this case may be filed at this 721 19th St.
     address. You may inspect all records filed Denver, CO 80202−2508                                            Contact phone 720−904−7300
     in this case at this office or online at
     www.pacer.gov.
                                                                                                                 Date: 9/24/18

7. Meeting of creditors                           November 5, 2018 at 08:30 AM                                   Location:

     Debtors must attend the meeting to be        The meeting may be continued or adjourned to a later date.     Colorado Springs Municipal
     questioned under oath. In a joint case,      If so, the date will be on the court docket.                   Court, Div 2, 224 E. Kiowa Street,
     both spouses must attend. Creditors may
     attend, but are not required to do so.                                                                      Colorado Springs, CO 80901
                                                  Under Bankruptcy Rule 4002(b)(1)−(2), you shall bring the
                                                  following to the meeting of creditors:

                                                  1) picture identification issued by a governmental unit, or
                                                  other personal identifying information that establishes the
                                                  debtor's identity AND evidence of a social security number
                                                  OR a written statement that such docmumentation does not
                                                  exist;

                                                  2) documents or copies of a) debtor's current income such
                                                  as the most recent payment advice, pay stub, or earnings
                                                  statement; and b) statements for each of the debtor's
                                                  depository accounts (bank, credit union and investment) for
                                                  the time period that includes the date of the filing of the
                                                  petition OR a written statement that such documentation
                                                  does not exist; and

                                                  3) documentation of monthly expenses claimed if required
                                                  under 11 U.S.C. §707(b)(2)(A) or (B).


8. Presumption of abuse                           The presumption of abuse does not arise.

     If the presumption of abuse arises, you
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge or                   Filing deadline: 1/4/19
                                                to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                                                                                 conclusion of the meeting of creditors


                                                  The law permits debtors to keep certain property as
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.
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    The case trustee must receive these          Deadline to provide documents:                                   Filing deadline: 7 days before the the
    documents by the following deadlines.                                                                         meeting of creditors


                                                 You shall provide to the case trustee a copy of the federal
                                                 income tax return required under applicable law, or a
                                                 transcript of such return, for the most recent tax year ending
                                                 immediately before the commencement of the case and for
                                                 which a federal income tax return is filed, and provide the
                                                 same tax information to creditors that requested a copy at
                                                 least fourteen days prior to the meeting of creditors. See
                                                 Fed. R. Bankr. P. 4002(b). The debtor's failure to comply
                                                 will result in dismissal of the case unless the debtor
                                                 demonstrates that the failure to comply is due to
                                                 circumstances beyond the control of the debtor. See L.B.R.
                                                 1017−2.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


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